 

|

Pro Se | (Rev. 12/16) Complaint for a Civil Case

Case 4:20-mc-02217 Document 3-1 Filed on 07/31/20 in TXSD Page 1 of 6

UNITED STATES DISTRICT COURT

Michael Palma
Plaintiff(s)

(Write the full name of each plaintiff who ds filing this complaint.
[f the names of all the plaintiffs cannot fit tn the space above.
please write “see attached” in the space and attach an additional

page with the full list of names.)
-Vy-

 

Harris County Appraisal District, Christine Weems

Defendantfs)

MW rite the full name of each defendant whp is being sued. If the

for the

Southern District of Texas

Houston Division

Nee eee eee eee ee eee ae

names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page

with the full list of names.)

I. The Parties to This Complaint
A. The Plaintiff(s)

F.rst Anes ded

COMPLAINT FOR A CIVIL CASE

U.20me 2ul| 7

(to be filled in by the Clerk's Office)

Jury Trial: (check one) C] Yes Xx No

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Street Address
City and County
State and|Zip Code
Telephone Number
E-mail Address

 

Michael-Francis Palma
5026 Autumn Forest
Houston Harris County
Texas 7709]
713-263-9937
mpalmal (@gmail.com

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B.

The Defendant(s)

Name

Job or Title (ifknown)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 2

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 3

Name

Job or Title ¢if known)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title “fknown)
Street Address

City and County
State and Zip Code

Telephone Number

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Harris County Appraisal District via,Roland Altinger

HCAD Chief Appraiser

13013 Northwest Freeway

Houston Harris County
Texas 77040

Dedra Davis

270" State District Court Judge

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title “fknown). Attach additional pages if needed.

Defendant No. |

Harris County Civil Courthouse, 201 Caroline, 13th Floor

Houston Harris County
Texas 77002

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.

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Il.

Basis for Jurisdiction

E-mail Address sif' knows)

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C, § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case, Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apph)

[x] Federal question [_] Diversity of citizenship

 

Fill out the paragraphs in this section that apply to this case.

A.

If the Basis for Jurisdiction Is a Federal Question
List the specific federal statutes. federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

The inaction ofthe Defendant's to answer the claims/questions in this cause directly violates Plaintiff's.
life, liberty and|pursuit of happiness as stated in the Declaration of Independence and also of property
without due pracess in the Fifth and Fourteenth Amendments and an unreasonable seizure under the
Fourth Amendment. Additonally this court has jurisdiction under Section 706 Title 5 United States
Code and/or Section 1443 Title 28 United States Code.

If the Basis for Jurisdiction Is Diversity of Citizenship

I. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff. same) . is a citizen of the
tate of (name)
b. If the plaintiff is a corporation
The plaintiff. same) . 1S Incorporated

under the laws of the State of name)

and has its principal place of business in the State of same)

([f more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff )

I

The Defendant(s)

a. If the defendant is an individual

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IH.

The defendant, name) . is acitizen of
the State of (name) . Or isa citizen of

(foreign nation)

b. If the defendant is a corporation
The defendant, (name) , iS incorporated under
the laws of the State of tame) . and has its

principal place of business in the State of trame)
Or is incorporated under the laws of (foreign nation)

and has its principal place of business in fname;

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

The Amount in Controversy

oo

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because ‘explain:

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

1) Appraisal District failed to provide critical constitutional list and statutory definition thereby falling outside of
its qualified constitutional and statutory guidelines.
2) State judge abused discretion by not producing the same list and definition in a findings of facts. violating due

process.
3) Additionally both state district and appellate court judges receive stipends from Harris County thereby having

the appearance of impropriety and partiality.
4) Failing to provide the above leads to an unreasonable seizure, deprivation of life, liberty and property without
due process, and other violations under Section 1983 Title 42.

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IV.

Relief

State briefly and precisel | what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts. and the reasons you claim you are entitled to actual or
punitive money damages.

Plaintiff is requesting that this Court, if the two defendants will not or refuse to provide the list or defintion
requested, certify two questions to the Texas Supreme Court:

1) Provide a list of properties that are "exempt as required" under Section 1(b) Article 8 Texas Constitution with
the corollary of what properties are "exempt by law" under Section 11.01 of the Texas Tax Code.

2) Provide the definition of phrase of art "located in this state" under Sections 11.01 and 11.02 of the Texas Tax
Code.

Enclosed as an attachment ts the Plaintiff's request for the Findings of Fact and Conclusions of law (FOFCOL)
Also tendered but not enclosed as an attachment is the notice of past due FOFCOL. The only reason why
Plaintiff brought this suitjis that this neutral court is mandated to perform the actions required under Section 706
Title 5 and Section 1443 Title 28 when state courts refused to do so.

Without said relief Plaintiff is being denied due process thereby causing an unreasonable seizure

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge. information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay. or neddlessly increase the cost of litigation: (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery: and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

] agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. | understand that my failure to keep a current address on file with the Clerk's Office may result
in the dismissal of my case.

Date of signing: | BG d-O

Signature of Plaintiff PUP

Printed Name of Plaintiff Michael Palma
B. For Attorneys

Date of signing:

 

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provided by local rules of court. This form, approved by the Judicial Conference of the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information con tained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

JS-44 (Rev, 09/19)

nited States in September 1974, is required for the use of the Clerk of Court for the

 

bia lichast Prancis

(b) County of Residence of First Listed Plaintiff

\
|

Harris

(EXCEDT IN U.S. PLAINTHD CASES)

(c) Attorneys (Virm Name, Address, and Telephone Number)

NOTE

 

County of Residence of First Listed Defendant

Attorneys (/f Known
Olson and Olson Eric Farrar - HCAD, Wortham Tower, Suite 600,
2727 Allen Parkway, Houston, Texas 77019 -2133, 713-533-3800
Christine Weems - none

EF
DEE END ANTS Appraisal District
Weems, Christine

UN US. PLAINTILE CASES O

Harris _
LY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

i. BASIS OF JURISDICTION (Place an “Kin One Box Only)

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} US. Government
Plaintiff

2 US. Government
Defendant

& 3 Federal Question

{UL8. Goverment Not a Party)

4 Diversity

Undicate Citizenship of Parties in Hem HD

r

 

in One Box Only)

Citizen of This State

Citizen of Another State

Citizen or Subject of a
Foreign Country

 

TV. NATURE OF SUIT (Place an “X"

 

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110 nsurance

120 Manne

130 Miller Act

140 Negotiable Instrument

150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans}

153 Recovery of Overpayment
of Veteran's Benefits

166 Stockholders’ Suits

190 Other Contract

195 Contract Product Liability

196 Franchise

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Tarts to Land

245 Tort Product Liability

[| 290 All Other Real Property

 

 

PERSONAL INJURY

O 310 Aplane |

(1 315 Airplane Product
Liability |

1 320 Assault, Libel &
Slander

(3 330 Federal Employ: és’
Liability

0 340 Marine

1) 345 Marine Product
Liability /

© 350 Motor Vehicle |

(1 355 Motor Vehicle |
Product Liability,

C1 360 Other Personal |

PERSONAL INJURY

( 365 Personal Injury -
Product Liability

CO 367 Health Care/
Pharmaceutical
Personal Injury
Product Liability

(7 368 Asbestos Personal
Injury Product
Liability

0 625 Dmg Related Seizure
of Property 21 USC 88!
0 690 Other

FORFEITURE/PENALTY.

IW. CITIZENSHIP OF PRINCIPAL PARTIES (lace an °x”
{For Diversity Cases Only)
PTF

in One Box for Plaintiff
und One Box for Defendant)

DEF PTF DEF
l 1 1 Incorporated or Principal Place 34 04
of Business Jn This State
2 2 Incorporated and Principal Place 905 #725
of Business In Another State
3. © 3 Foreign Nation 36 76

0 422 Appeal 28 USC 158
O) 423 Withdrawal
28 USC 157

0 #20 OComratns

C 830 Patent

© 835 Patent - Abbreviated
New Drug Application

O 840 Trademark

 

PERSONAL PROPERTY
© 370 Other Fraud
F 371 Truth in Lending
© 380 Other Personal
Property Damage

 

 

 

et

© 710 Fair Labor Standards
Act

© 720 Labor/Management
Relations

740 Railway Labor Act

© 751 Family and Medical
Leave Act

O 790 Other Labor Litigation

0 791 Employee Retirement
Income Security Act

IMMIGRATION

SOCIAL SECURIT}
O 861 HIA (1395ff)
© 862 Black Lung (923)
0 863 DIWC/DIWW (405(2))
1 864 SSID Title XVI
1 865 RST (405(g))

CI) 870 Taxes (US. Plaintiff
or Defendant)

871 IRS—Third Party
26 USC 7609

 

Injury 1 385 Property Damage
1 362 Personal Injury - | Product Liabiliry
Medical Malpractice
PRISONER PETITIONS
(& 440 Other Civil Rights Habeas Corpus:
441 Voting | 463 Alien Detainee
0 442 Employment | 1 510 Motions to Vacate
© 443 Housing’ Sentence
Accommodations 1 530 General
0) 445 Amer. w/Disabilifies -] 0 335 Death Penalty
Employment \ Other:
17 446 Amer. w/Disabilities -] J 540 Mandamus & Other
Other ! O 550 Civil Rights
1 448 Education @ 555 Prison Condition

 

560 Civil Detainee -
Conditions of
Confinement

© 465 Other Immigration
Actions

 

GC 462 Naturalization Application

 

 

FEDERAL TAX SUITS |

Click here for: Nature of Sun Code san

0) 375 False Claims Act

1 376 Qui Tam (31 USC
3729{a))

© 400 State Reapportionment

CF 410 Antitrust

0 430 Banks and Banking

450 Commetce

0 460 Deportation

( 470 Racketeer Influenced and
Carrupt Organizations

CO 480 Consumer Credit
(15 USC 1681 or 1692)

7 485 Telephone Consumer
Protection Act

(0 490 Cable/Sat TV

C7 850 Securities. Commodities:
Exchange

© 890 Other Statutory Actions

CF 894 Agricultural Acts

© 893 Environmental Matters

(J 895 Freedom of Information
Act

1 896 Arbitration

CF 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

CO 950 Constitutionality of
State Statutes

 

 

Vv. ORIGIN (Place an “Nin One Box Only

a

Vi. CAUSE OF ACTION

} Original
Proceeding

(K2 Removed trom
State Court

q

Section 1983

Brief description

 

3  Remanded from
Appellate Court

4

Reinstated or

Reopened

3 Transferred trom
Another District
(specify)

Cite the U.S, cml Statute under which you are filing (Do not cite jurisdictional statutes unless diversity).

itle 42 United States Code

f cause:
Defendants failed to produce critical list and definition during discovery or in findings of facts, violating due process

1 6 Multidistrs

Transfer

Litigation -

18 Multidistrict
Litigation -
Direct File

ct

 

 

 

 

 

VII. REQUESTED IN (J CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, FR.Cv.P 0.00 JURY DEMAND: = Yes -M4iNo
VIII. RELATED CASE(S) |

(See instructions)

IF ANY “ee” | JUDGE ee ___ DOCKET NUMBER ee
DATE | SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY |

RECEIPT # AMOUNT Po APPLYING [FP JUDGE MAG. JUDGE
|

 

 
